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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE NORTHERN DISTRICT OF ILLINOIS



APPLE INC., and NeXT SOFTWARE,
INC. (f/k/a NeXT COMPUTER, INC.),
                                               Case No. 1:11-CV-08540
               Plaintiffs and Counterclaim
               Defendants,
                                               Hon. Richard A. Posner
v.
                                               JURY TRIAL DEMANDED
MOTOROLA INC. and MOTOROLA
MOBILITY, INC.

               Defendants and Counterclaim
               Plaintiffs.



     APPLE’S MOTION TO STRIKE “DECLARATION OF TIM A. WILLIAMS, PH.D,”
         EXHIBIT 6 TO MOTOROLA’S RESPONSE TO APPLE’S MOTION TO
                 PRECLUDE TESTIMONY OF CARLA MULHERN
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         Apple respectfully moves the Court to strike Exhibit 6, “Declaration of Tim A. Williams,

Ph.D.” (“Williams Declaration”), to Motorola’s May 7 response to Apple’s motion to preclude

testimony from Ms. Mulhern on Motorola’s claims for damages [Dkt. No. 844]1 as an untimely

and unauthorized supplemental expert report submitted in violation of the Court’s scheduling

order and without leave of Court.

I.       INTRODUCTION

         On May 7, Motorola filed an opposition to Apple’s motion to preclude testimony from

Ms. Mulhern regarding Motorola’s claims for damages, and attached as Exhibit 6 to its

opposition a “Declaration of Tim A. Williams, Ph.D.” that purports to provide new opinions of

Dr. Williams regarding the use by AT&T networks of the purported benefit provided by the ’898

patent that are not contained in any of Dr. Williams’s four expert reports. Dkt. No. 844-7. The

Williams Declaration provides new opinions based on the supplemental report submitted by

Apple’s expert, document Bates-numbered WI-Apple4403509 to WI-Apple4403573 (produced

by AT&T), and also on document Bates-numbered ATT000207 to 602 (produced by AT&T),

which was available to Dr. Williams at the time of his supplemental report. Dkt. No. 844-7 ¶¶ 3-

4, 6-11.2

         Apple respectfully submits that the Williams Declaration should be stricken.




1
 Motorola’s opposition to Apple’s motion to preclude and its Exhibit 6 thereto, the Williams
Declaration, are Docket Nos. 844 and 844-7 respectively.
2
  Dr. Williams’s declaration also responds to Dr. Cimini’s April 13, 2012 declaration, which
discussed the document Bates-numbered WI-Apple4403509 to WI-Apple4403573. However, in
light of the Court’s recent rulings regarding expert declarations, Apple hereby withdraws the
April 13, 2012 declaration of Dr. Cimini from the record. Essentially the same opinions by Dr.
Cimini are contained in his March 22, 2012 Rebuttal Expert Report, which remains in the record.


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II.    ARGUMENT

       The Williams Declaration is in effect a supplemental expert report that was submitted by

Motorola without leave of Court and in violation of the Court’s scheduling order. In this

manner, it is no different from the Declaration of Mike Wagner that Motorola submitted in

support of its Daubert motion regarding the damages expert report of Brian Napper, and that this

Court struck from the record in its order of May 9, 2012. See Dkt. No. 848 (“The Wagner

Declaration is in fact an unauthorized and untimely supplemental expert report.”). Permitting

Motorola to supplement its expert report in this way would initiate the “supplementation death

spiral” this Court has sought to avoid. See id.

       For these reasons, Apple respectfully submits that the Williams Declaration should be

stricken in its entirety, and Motorola should be precluded from relying on its contents at trial in

the form of testimony of Dr. Williams or otherwise.

III.   CONCLUSION

       For the foregoing reasons, Apple respectfully requests that the Court strike Exhibit 6,

“Declaration of Tim A. Williams, Ph.D.,” to Motorola’s “Response to Apple’s Motion to

Preclude Testimony of Carla Mulhern Regarding Motorola’s Damages” and preclude Motorola

from relying on the contents of the Williams Declaration at trial, in the form of testimony of Dr.

Williams or otherwise.

Dated: May 11, 2012
                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I, Robert D. Fram, an attorney, do hereby certify that I caused a copy of the foregoing to

be electronically filed with the Court and served on all parties on May 11, 2012 using the Court’s

electronic case filing system.




                                                    By: /s/ Robert D. Fram         ______
                                                           Robert D. Fram




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